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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-CV-61167-ALTONAGA/STRAUSS

  BRUNA ARENALES SALGADO DE OLIVERA, et al.,
          Plaintiffs,
  v.

  UR JADDOU, Director, United States Citizenship
  and Immigration Services, et al.,
        Defendants.
  ________________________________________/

       ORDER SETTING SETTLEMENT CONFERENCE AND STATUS CONFERENCE

          THIS CAUSE has been referred to the undersigned for a settlement conference. [DE 17].

  The parties having provided dates of availability, it is hereby ORDERED AND ADJUDGED as

  follows:

  1. A settlement conference in this matter will be held before the undersigned commencing at 9:30

       a.m. on September 14, 2023. The parties shall submit Confidential Settlement Statements by

       September 8, 2023 (see ¶ 4.b. below).

  2. A status conference will also be held before the undersigned commencing at 10:00 a.m. on

       September 6, 2023, via Zoom Videoconference.

          a. Meeting ID: 160 729 1517       Passcode: 3434

          b. https://www.zoomgov.com/j/1607291517?pwd=dDF5RXJvK1JXZnk4L3B5TVh2dE

              NxZz09

  3. At this Status Conference, the Court intends to discuss logistics for the Settlement Conference.

       The Court plans on conducting the Settlement Conference by Zoom, however, given that the

       parties’ recent email to chambers suggested there was a disagreement over remote appearance,

       the Court will consider the parties’ positions at the Status Conference.
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  4. The undersigned issues the following additional information concerning the September 14,

     2023 Settlement Conference:

         a. The Settlement Conference shall be attended by representatives of the parties and

            counsel of record. Each side shall have a party representative present with full authority

            to negotiate and finalize any settlement agreement reached.            Failure of a party

            representative with full and final authority to make and accept offers of settlement to

            attend this Settlement Conference may result in the undersigned’s sua sponte

            recommendation that sanctions be entered against the offending party.

         b. On or before September 8, 2023, the parties shall each submit (via email to

            strauss@flsd.uscourts.gov) a Confidential Settlement Statement of no more than ten

            (10) pages, double-spaced, setting forth the following: (a) background regarding the

            case; (b) a concise statement of the key stipulated and disputed factual and legal issues;

            (c) a candid evaluation of the strengths and weaknesses of the party’s case; (d) a candid

            evaluation of the party’s “best day” and “worst day” in court (including estimates of

            what the party may receive or owe in damages and what the party may owe, through

            trial, for its own attorney’s fees and the opposing party’s attorney’s fees, if applicable);

            (e) the party’s position on settlement (i.e., what you are or may be willing to settle for);

            (f) the results of any previous settlement negotiations, including the last demand/offer

            made; (g) whether there may be any difficulty in collecting to satisfy any judgment; (h)

            any other information that may be helpful in working towards a fair settlement; and (i)

            the names of all individuals who will be attending the settlement conference.

         c. In some, but not all, cases, the Court may give each party approximately five (5)

            minutes to make an opening statement at the beginning of a Settlement



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             Conference. Because the Court will not be making any rulings at the Settlement

             Conference, the Court encourages each party to view this opening statement as an

             opportunity to communicate relevant information or positions to the opposing party,

             rather than as a means of convincing the Court of the legal or factual correctness of its

             positions.

         d. The Settlement Conference will not be continued absent a written motion and a

             showing of compelling circumstances.

         e. In the event this matter settles prior to the scheduled Settlement Conference, the parties

             shall immediately advise the undersigned’s chambers. Written confirmation of a

             settlement that is signed by all parties shall also be sent to chambers at

             strauss@flsd.uscourts.gov.

         f. The Settlement Conference shall be conducted without a court reporter and will not be

             recorded. All representations and statements made at the Settlement Conference shall

             remain confidential.

         g. The parties are notified that the Court does not provide interpreter services in civil

             cases. In the event that a party or corporate representative does not speak fluent

             English, that party must arrange for the attendance of an interpreter.

  5. Sanctions may be imposed for failure to follow any of the requirements of this Order.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 1st day of September 2023.




  Copies to counsel of record via CM/ECF



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